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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



 UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

 VERSUS                                                                    NO. 04-160

 JACOB LEWIS                                                               SECTION “L” (4)


                                       TRANSFER ORDER

        Defendant, Jacob Lewis, has filed a Petition to the Government for Redress of Grievance(s)

(Rec. Doc. 384), in which he is challenging the constitutionality of his 2005 sentence. The

defendant has also filed a Motion for Inquiry (Rec. Doc. 387) checking on the status of his petition.

        A review of this Court’s record reflects that defendant has filed a prior § 2255 motion related

to this same sentence (Rec. Doc. 315). In that motion, filed July 5, 2006, the defendant raised two

ineffective assistance of counsel grounds for relief. That motion was denied with prejudice on the

merits by Order & Reasons dated September 18, 2006 (Rec. Doc. 323) and Judgment dated

September 19, 2006 (Rec. Doc. 327). The defendant appealed this Judgment, but the United States

Court of Appeals for the Fifth Circuit denied his request for a COA on August 20, 2007 (Rec. Doc.

375).

        The petition presently before the Court is considered to be a second or successive motion as

described in 28 U.S.C. §§ 2244 and 2255. In order to overcome the prohibition against the filing

of second or successive claims, the defendant must establish that the petition contains one of the

following requirements:
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       1)      claims based on newly discovered evidence that, if proven and viewed in
               light of the evidence as a whole, would be sufficient to establish by clear and
               convincing evidence that no reasonable factfinder would have found the
               defendant guilty of the offense; or

       2)      claims based on a new rule of constitutional law, made retroactive to cases
               on collateral review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255.

       Before the motion can be considered on the merits by this District Court, the defendant must

obtain certification from the United States Court of Appeals for the Fifth Circuit to file this second

or successive motion by making a prima facie showing of the above listed requirements to that

appellate court as required by § 2255. Until such time as the defendant obtains said certification,

this Court is without jurisdiction to proceed. Accordingly,

       IT IS ORDERED that the defendant’s petition (Rec. Doc. 384) be construed in part as a

motion for certification for the District Court to consider the second or successive claims raised

therein.

       IT IS FURTHER ORDERED that the defendant’s Motion for Inquiry (Rec. Doc. 387) is

hereby SATISFIED.

       IT IS FURTHER ORDERED that the defendant’s petition be and hereby is

TRANSFERRED to the United States Court of Appeals for the Fifth Circuit under the authority of

28 U.S.C. § 1631 for that Court to determine whether the defendant is authorized under 28 U.S.C.

§ 2244 and § 2255 to file the instant motion to vacate in this District Court.

       New Orleans, Louisiana, this 20th day of February, 2008.



                                                      ____________________________________
                                                         UNITED STATES DISTRICT JUDGE

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